Case 0:19-cv-60002-WPD Document 35 Entered on FLSD Docket 01/31/2019 Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                                          Case No. 19-cv-60002-WPD
  TIMOTHY CHARLES HOLMSETH,

          Plaintiff,
  v.

  KIM LOWRY PICAZIO,
  WILLIAM K. MURTAUGH,
  KAREN DENISE GAUR,

  -and-

  JOHN DOES 1-5,

        Defendants.
  _______________________________________/



       ORDER OF DISMISSAL FOR FAILURE TO COMPLY WITH COURT ORDERS


          THIS CAUSE is before the Court upon the Court’s January 23, 2019 Order to Show

  Cause to Plaintiff’s Counsel for Failure to Comply with Order Requiring Status Report. See [DE

  33].

          On January 2, 2019, the Court issued an Order Requiring Status Report, entered after the

  transfer of this case to the Southern District of Florida and the assignment to the undersigned.

  See [DE’s 23, 24, 25, 28]. Therein, the Court ordered, in pertinent part, that: “No later than

  January 14, 2019, the parties shall file a status report regarding the status of this case, including

  but not limited to the status of service as to the Defendants who have not responded to the

  Complaint, and any matters that remain pending before the Court.” See [DE 28] at p. 1 (emphasis

  in original). Plaintiff’s Counsel failed to comply with the Court’s Order. Therefore, on January

  23, 2019, the Court entered an Order to Show Cause to Plaintiff’s Counsel for Failure to Comply
Case 0:19-cv-60002-WPD Document 35 Entered on FLSD Docket 01/31/2019 Page 2 of 2



  with Order Requiring Status Report. See [DE 33]. Therein, the Court ordered that, “[n]o later

  than January 30, 2019, Plaintiff’s counsel shall comply with the Court’s January 2, 2019 Order

  Requiring Status Report and shall show cause for the failure to comply with the Court’s

  instructions.” See id. The Court warned that “[a] failure to comply with this Order to Show

  Cause shall result in the immediate dismissal of this case.” See id. As of the date of this Order,

  Plaintiff’s counsel has failed to comply with the Court’s Orders.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.      The above-styled action is DISMISSED for failure to comply with multiple Court

                 Orders.

         2.      The Clerk is DIRECTED to CLOSE this case and DENY AS MOOT any

                 pending motions.

         3.      The Clerk is DIRECTED to send, via U.S. Mail, copies of this Order to

                 Plaintiff’s counsel at the addresses below.

         DONE AND ORDERED in Chambers in Ft. Lauderdale, Broward County, Florida this

  31st day of January, 2019.




  Copies furnished to:
  Counsel of record
  Steven Scott Biss
  300 West Main St Ste 102
  Charlottesville, VA 22903
